Case 19-14142     Doc 230      Filed 11/09/23 Entered 11/09/23 15:00:16            Desc Main
                               Document      Page 1 of 65



                       UNITED STATES BANKRUPTCY COURT
                                    FOR THE
                          DISTRICT OF MASSACHUSETTS


  In re                                                IN PROCEEDINGS UNDER
  BRIAN W. COUGHLIN,                                   CHAPTER 13
                 Debtor                                CASE NO. 19-14142-FJB


        FIRST AMENDED MOTION OF THE DEBTOR TO ENFORCE THE
                 AUTOMATIC STAY AND FOR SANCTIONS

      The Debtor, Brian W. Coughlin, hereby moves, pursuant to 11 U.S.C. §§ 362(a)(6)

 and 362(k)(1), for an Order enforcing the automatic stay as against Niiwin, LLC doing

 business as Lendgreen (“Lendgreen”) and its parent entities, LDF Holdings, LLC

 (“Holdings”), Lac du Flambeau Business Development Corporation (“BDC”) and the Lac

 du Flambeau Band of Lake Superior Chippewa Indians (the “Tribe”), and to the extent

 the court determines that the Creditor has committed acts that constitute a willful

 violation of the automatic stay, awarding the Debtor attorneys fees and expenses and an

 award of punitive damages as the court deems reasonable under the circumstances. As

 grounds therefor, the Debtor states as follows:


                            IDENTIFICATION OF PARTIES
                            AND BASIS OF JURISDICTION

 1.     The Debtor, Brian W. Coughlin, filed his Voluntary Petition under Chapter 13 of

        the Bankruptcy Code on December 4, 2019.


 2.     Lendgreen is a direct creditor of the Debtor and, upon information and belief, is a

        Tribal Enterprise of the Lac Du Flambeau Band of Chippewa Indians, a federally-

        recognized Indian Tribe with a mailing address of P.O. Box 221, Lac Du

        Flambeau, Wisconsin 54538.
Case 19-14142    Doc 230     Filed 11/09/23 Entered 11/09/23 15:00:16              Desc Main
                             Document      Page 2 of 65



 3.    Upon information and belief, Holdings is an indirect creditor of the Debtor by and

       through its inextricably intertwined relationship with Lendgreen, BDC, and the

       Tribe and its status as an integral and immediate “arm” of the Tribe.


 4.    Upon information and belief, BDC is an indirect creditor of the Debtor by and

       through its inextricably intertwined relationship with Lendgreen, Holdings, and

       the Tribe and its status as an integral and immediate “arm” of the Tribe.


 5.    The Tribe is a federally-recognized tribal entity, located in Lac Du Flambeau,

       Wisconsin. Upon information and belief, the Tribe is an indirect creditor of the

       Debtor by and through its inextricably intertwined relationship with Lendgreen,

       Holdings, and BDC, each of which it has held out as an integral and immediate

       “arm” of the Tribe. Upon information and belief, the offices of the Tribe that

       relate to Lendgreen have an address of 597 Peace Pipe Road, 2nd Floor, Lac du

       Flambeau, Wisconsin 54538.


 6.    The Tribe, and, to the extent they are deemed to be separate entities, each of

       Lendgreen, Holdings, and BDC, is a “governmental unit” within the meaning of

       11 U.S.C. § 101(27) and, as such does not enjoy any form of common-law

       sovereign immunity from this proceeding under 11 U.S.C. § 362, by operation of

       11 U.S.C. § 106(a)(1).


 7.    Upon information and belief, Lendgreen is putatively a wholly owned subsidiary

       of Holdings; which, in turn, is putatively a wholly owned subsidiary of BDC;

       which, in turn, is putatively a wholly owned and operated economic arm and

       instrumentality of the Tribe.
Case 19-14142    Doc 230     Filed 11/09/23 Entered 11/09/23 15:00:16               Desc Main
                             Document      Page 3 of 65



 8.    Upon information and belief, and as further set forth below, the tiered

       organizational structure of Lendgreen, Holdings, BDC, and the Tribe is a sham

       that is intended to allow each “arm” or element of the Creditor to be able

       simultaneously to claim the common-law sovereign immunity enjoyed by the

       Tribe for the purpose of shielding the Tribe’s Internet-based, “pay-day” lending

       operations from legal scrutiny, while simultaneously shielding the Tribe’s own

       asseets from any prosecutor, regulator, or private party.


 9.    The court's jurisdiction is authorized under the provisions of 28 U.S.C. §§ 1334(b)

       and 157(b)(1), as matters concerning the administration of the bankruptcy estate

       are specifically designated as "core proceedings", pursuant to 28 U.S.C. §

       157(b)(2)(A).


           STATEMENT OF FACTS APPLICABLE TO ALL COUNTS

 10.   Prior to the Debtor’s Chapter 13 bankruptcy filing, the Debtor obtained an

       unsecured “payday” loan from Lendgreen, and owed,.as of the date of the

       commencement of this Chapter 13 case $1,594.91 (the “Claim”).


 11.   The Lendgreen was listed on the Debtor’s Schedule of Unsecured Debts

       (Schedule “E/F”) as Item 4.17 listing the Creditor as “Lend Green”, with a

       mailing address of P.O. Box 221, Lac Due Flambeau, Wisconsin 54538 and listed

       the last 4 digits of the account number relating to said claim of 3572. A true and

       accurate copy of the relevant portion of the Debtor’s Schedule “E/F” is attached

       hereto as Exhibit “A”.
Case 19-14142    Doc 230        Filed 11/09/23 Entered 11/09/23 15:00:16          Desc Main
                                Document      Page 4 of 65



 12.   As a consequence of the Debtor’s scheduling of Lendgreen’s claim, the

       Lendgreen was properly listed on the Debtor’s Mailing Matrix with a mailing

       address of P.O. Box 221, Lac Due Flambeau, Wisconsin 54538. A true and

       accurate copy of the relevant portion of the Debtor’s Mailing Matrix is attached

       hereto as Exhibit “B”.


 13.   On December 4, 2019, Debtor’s Counsel served a copy of the Debtor’s Original

       Chapter 13 Plan upon Lendgreen at its mailing address of P.O. Box 221, Lac Due

       Flambeau, Wisconsin 54538 and filed a Certificate of Service regarding the

       Debtor’s Original Chapter 13 Plan reflecting the same. A true and accurate copy

       of Certificate of Service regarding the Debtor’s Original Chapter 13 Plan is

       attached hereto as Exhibit “C”.


 14.   Despite receiving actual notice of the Debtor’s Chapter 13 bankruptcy filing on

       December 10, 2019, Lendgreen continued its collections efforts to recover from

       the Debtor upon the Claim, by means of text messages, electronic mail, telephone

       calls and voicemail messages.


 15.   On February 26, 2020, during this period of insessant and unrelenting telephone

       calls, voicemail messages, emails and text messages from Lendgreen, the Debtor

       called Lendgreen and spoke with one of its collection specialists, Linda

       Ehikpehale, and told her that he had filed for bankruptcy protection under Chapter

       13 of the Bankruptcy Code in December of 2019 and that they had been

       previously notified of his bankruptcy filing. Ms. Ehikpehale then immediately

       sent an email to the Debtor acknowledging their conversation and stated “As
Case 19-14142      Doc 230      Filed 11/09/23 Entered 11/09/23 15:00:16             Desc Main
                                Document      Page 5 of 65



        earlier discussed, the email address to send the Power Of Attorney documents for

        your bankruptcy case is administration@lendgreen.com.” A true and accurate

        copy of the February 26, 2020 email is attached hereto as Exhibit “D”.


 16.    Despite being notified directly by the Bankruptcy Court’s Notice of Case

        Commencement and Debtor’s Counsel by means of the Chapter 13 Plan, and

        despite the Debtor actually speaking with its collection specialist Linda

        Ehikpehale on February 26, 2020, on March 17, 2020, Lendgreen nonetheless

        continued with its collection efforts against the Debtor and sent another email

        stating as follows:

150 DAYS OVERDUE AND IT IS BEING REPORTED TO CREDIT REPORTING AGENCIES
               CALL 1-877-689-1848 NOW TO MAKE
                             A PAYMENT.
  RE: Lendgreen account #028083572-00
 Balance Due: $1,594.91
 Hi Brian,
 Your loan is 150 past due. We have reported this issue to credit reporting agencies and your
 ability to receive a loan in the future may be impacted. Call us now to set up a payment
 schedule.CALL NOW TO CLEARR DEBT

 Alternatively, you can authorize a direct payment by sending the following email to

 collections@lendgreen.com:

 "I, Brian, authorize Lendgreen to debit the sum of $ from my account on .


 To verify my identity, the last 4 digits of my SSN are ; the last 4 digits of my routing
 number are
         ; and the last 4 digits of my account number are ."

 If you have any questions regarding this email, please do not hesitate to contact us. Log
 into your self-service account to review your loan details.

 Regards,
Case 19-14142     Doc 230     Filed 11/09/23 Entered 11/09/23 15:00:16              Desc Main
                              Document      Page 6 of 65



 Lendgreen Collections Department
 collections@lendgreen.com
 1-877-689-1848
 www.lendgreen.com

 A true and accurate copy of the Email sent by Lendgreen is attached hereto as Exhibit

 “E”.


 17.    As a direct and proximate result of Lendgreen’s actions in attempting to collect

        upon the Claim after being notified and being fully aware of the commentment of

        the Debtor’s Chapter 13 bankruptcy case on December 10, 2019, the Debtor

        became so depressed, despondent and anxious, that, in an effort to escape the

        unrelenting, harassing efforts to collect upon the Claim, the Debtor, who was

        already suffering from severe clinical depression and Type-1 Diabetes, attempted

        suicide by means of an overdose of prescription medications.


 18.    Luckily, the Debtor’s family was able to timely intervene to prevent the Debtor’s

        suicide attempt, and the Debtor was taken to the Emergency Department of

        Massachusetts General Hospital where he was revived. The Debtor thereafter

        spent the next eleven (11) days at the Massachusetts General Hospital recovering

        and incurred as a result therefor hospital bills amounting to $76,828.33.


 19.    Additionally, because of his hospitalization caused by the actions of Lendgreen,

        the Debtor was forced to use sick leave and vacation time from his then-employer,

        the City of Boston, amounting to a loss of $9,011.55.


 20.    Even while the the Debtor was recovering from his unsuccessful suicide attempt

        at the Massachusetts General Hospital, he continued to receive telephone calls
Case 19-14142        Doc 230       Filed 11/09/23 Entered 11/09/23 15:00:16            Desc Main
                                   Document      Page 7 of 65



          and voicemail messages and other actions, all to collect upon the Claim.

          Specifically, on March 18, 2020 at 2:06 pm, Lendgreen called the Debtor’s

          telephone number and left a voicemail for him to contact them about a “very

          important matter”. A true and accurate copy of the voicemail message is attached

          hereto as Exhibit “F”.


 21.      The following day, on March 19, 2020 at 1:53 pm, Lendgreen again called the

          Debtor’s telephone number and left another voicemail for him to contact them

          about a “very important matter”. A true and accurate copy of the voicemail

          message is attached hereto as Exhibit “G”.


 22.      Finally, Debtor’s Counsel, Richard N. Gottlieb, directly spoke with the collections

          department of Lendgreen, telling her that the Debtor had attempted suicide as a

          result of their collections activities despite his bankruptcy filings and demanded

          that all such activities stop.


                       BASIS FOR RELIEF REQUESTED
                                COUNT ONE
                 WILLFUL VIOLATION OF THE AUTOMATIC STAY

 23.      The provisions of 11 U.S.C. § 362(a)(6), state, in pertinent part, as follows:


            Except as provided in subsection (b) of this section, a petition filed under
       section 301, 302, or 303 of this title . . . operates as a stay, applicable to all
       entities, of—

                                                ...

           (6) any act to collect, assess, or recover a claim against the debtor that arose
       before the commencement of the case under this title; . . . .

 24.      The debt collection activities taken by Lendgreen were overtly coercive in nature

          and sought to compel the Debtor to make direct payments to the Lendgreen using
Case 19-14142        Doc 230      Filed 11/09/23 Entered 11/09/23 15:00:16             Desc Main
                                  Document      Page 8 of 65



           allusions of the fact that it had reported the lack of payment on its claim for the

           past 150 days to the “credit reporting agencies” and immediately demanding

           payment on its claim, constitute an act to “collect, assess, or recover a claim

           against the debtor that arose before the commencement of the case” within the

           meaning of 11 U.S.C. § 362(a)(6).\1


 25.       With respect to the “willfulness” requirement under 11 U.S.C. § 362(k)(1), a

           violation of the automatic stay will be deemed to be “willful”, if the party

           engaging in such conduct knew or had reason to know of the bankruptcy case and

           acted intentionally in such a way that the stay was violated.\2


 26.       The actions taken by Lendgreen in continuing its collections activity even after

           being notified by the Court, by Debtor’s Counsel through the submission of the

           Debtor’s Chapter 13 Plan, and by the Debtor directly demonstrate that the

           Lendgreen knew or had reason to know that the Debtor was in the midst of a

           Chapter 13 bankruptcy case at the time its collection activities were carried out.


 27.       The violation of the provisions of 11 U.S.C. § 362(a)(6) by Lendgreen in this case

           is further shown to be willful because Lendgreen not only received notice of the

           bankruptcy filing by the Debtor from the court on or about December 10, 2019,




 1/
      Parenthetically, it is worth noting in this case is that, under the terms of the Debtor’s
 Original Chapter 13 Plan, the Creditor and all other general unsecured creditors like it
 who file proofs of claim are to be paid 100% in full. Therefore, had the Creditor bothered
 to file a Proof of Claim in this case by the bar date of February 12, 2020 (which it did not
 do), it would have been paid in full.
 2/
      In re Cordle, 187 B.R. 1 (Bankr., N.D. Cal., 1995).
Case 19-14142    Doc 230       Filed 11/09/23 Entered 11/09/23 15:00:16          Desc Main
                               Document      Page 9 of 65



       but also explicitly referenced the bankruptcy filing in the email received by the

       Debtor on February 26, 2020.


 28.   As a direct and proximate result of the violation of the automatic stay, the Debtor

       suffered extreme emotional distress from the belief that, despite his Chapter 13

       bankruptcy filing, and despite making substantial Chapter 13 payments, he would

       still be hounded by his creditors, at a particularly vulnerable time when the Debtor

       was suffering from suicidal ideation, depression and anxiety.


 29.   As a direct and proximate result of the violation of the Automatic Stay, the Debtor

       incurred actual damages in the form of medical bills and lost vacation time and

       sick leave from his employer amounting to more than $85,000.00.


                           COUNT TWO
          ALTER-EGO, VICARIOUS, AND/OR JOINT LIABILITY OF LDF
        HOLDINGS, LLC, LAC DU FLAMBEAU BUSINESS DEVELOPMENT
         CORPORATION AND THE LAC DU FLAMBEAU BAND OF LAKE
       SUPERIOR CHIPPEWA INDIANS FOR WILLFUL VIOLATION OF THE
                           AUTOMATIC STAY

 30.   The Debtor reavers and incorporates all of the foregoing factual allegations

       previously set forth.


 31.   According to the Tribe’s Resolution No. 370(12), attached as Exhibit “H,” and

       BDC’s Articles of Incorporation, attached as Exhibit “I,” on or about August 27,

       2012, the Tribe incorporated BDC, listing the Tribe as the “owner” of BDC, and

       listing the business mailing address and principal office of BDC as 418 Little

       Pines Road, P.O. Box 67, Lac du Flambeau, Wisconsin 54538.
Case 19-14142     Doc 230      Filed 11/09/23 Entered 11/09/23 15:00:16             Desc Main
                               Document      Page 10 of 65



 32.   According to the Tribe’s Resolution No. 550(12), attached as Exhibit “J,” on or

       about December 17, 2012, the Tribe approved the creation of Holdings and

       Lendgreen, among other entities, for the purpose of, upon information and belief,

       engaging in Internet pay-day lending operations.


       (a)      Resolution No. 550(12) states that the creation of Holdings and

       Lendgreen, among other entities, is an exercise of the Tribal Council’s power to

       “create subordinate business entities cloaked with sovereign immunity as an arm

       of the Tribe.”


       (b)      Resolution No. 550(12) defines the term “Corporation” to refer to BDC

       and states that Lendgreen shall be “wholly owned by the Corporation for purposes

       of operating one or more Trbial lending business(es) and any activity directly

       related to such purpose.”


 33.   On or about January 9, 2013, the Tribe and BDC issued “Articles of

       Organization” for Niiwin, LLC (that is, Lendgreen), attached as Exhibit “K.”


       (a)      The preamble of the Articles of Organization states that the “incorporator”

       of Lendgreen is the “undersigned.” The only signature on the Articles of

       Organization is that “Tom Maulson,” who is identified as the “President” of the

       “Lac du Flambeau Band of Lake Superior Chippewa Indians.”


       (b)      Article 2 of the Articles of Organization identifies the “registered office”

       of Lendgreen is “418 Little Pines, PO Box 67, Lac du Flambeau, WI 54538,” that,

       is, the address as that of BDC.
Case 19-14142     Doc 230     Filed 11/09/23 Entered 11/09/23 15:00:16            Desc Main
                              Document      Page 11 of 65



       (c)      Articles 3 and 7 of the Articles of Organization identify BDC as the

       “Member” and “statutory agent” for Lendgreen. Article 7 also repeats the same

       address for BDC as that given for Lendgreen’s “registered office.”


       (d)      Article 6 of the Articles of Organization states that “[m]anagement of the

       limited liability company is vested in a single Manager as appointed or hired by

       the Member,” but with the proviso that “[t]his role may also be filled by a

       management contractor should the Company so desire,” and that the “[d]uties and

       responsibilities of the Manager shall [be] defined by the Company’s Operating

       Agreement.” There is a Manager named in the Articles of Organization, but the

       name of the Manager is not known to the Debtor because it has been redacted

       from the only version of the Articles of Organization that the Debtor has been

       able to obtain.


 34.   On July 17, 2013, Holdings and Lendgreen entered into an Operating Agreement,

       attached as Exhibit “L”,


       (a)      Section 1.2 of the Operating Agreement states that Lendgreen “shall be

       treated as a 100% tribally-owned and operated company, for federal and state law

       purposes, including all tax purposes, under the exclusive ownership, control and

       jurisdiction of the Lac Du Flambeau Band of Lake Superior Chippewa Indians”

       and “[n]o Member or Manager shall take any action inconsistent with the express

       intent of the parties thereto.”


       (b)      Section 1.7 of the Operating Agreement states that Holdings is the “sole

       Member” of Lendgreen.
Case 19-14142     Doc 230     Filed 11/09/23 Entered 11/09/23 15:00:16            Desc Main
                              Document      Page 12 of 65



       (c)      Section 1.9 of the Operating Agreement defines the term “Member” to

       “mean the Lac du Flambeau Business Development Corporation,” that is, BDC.


       (d)      Section 1.9 also names a “Manager” of Lendgreen, but the name of the

       Manager is not known to the Debtor because it has been redacted from the only

       version of the Operating Agreement that the Debtor has been able to obtain.


       (e)      Section 2.1 of the Operating Agreement states that Lendgreen was

       capitalized with only the sum of $100.00.


       (f)      Section 2.4 of the Operating Agreement further states that “[n]o Manager

       shall have the right to withdraw or distribute Capital Contributions except as

       specifically provided in this Agreement.”


       (g)      Section 3.2 of the Operating Agreement states that certain actions shall

       require “written consent from the Member, and in some instances its parent

       corporation the LDF Business Development Corporation,” that is, BDC.


       (h)      Section 6.2 of the Operating Agreement, entitled “Mandatory

       Distributions,” states that “[t]here shall at all times remain $500 in [Lendgreen’s]

       cash accounts.” and that “[w]henever the cash account balance exceeds said

       amount there shall be an immediate Distribution declared and paid unless the

       liabilities of [Lendgreen] are in excess of the assets.”


       (i)      Section 7.1 of the Operating Agreement states that Lendgreen “at all times

       shall be owned exclusively by the Lac du Flambeau Business Development

       Corporation,” that is, BDC.
Case 19-14142     Doc 230     Filed 11/09/23 Entered 11/09/23 15:00:16            Desc Main
                              Document      Page 13 of 65



 35.   At oral argument before the Supreme Court, counsel for the Tribe, BDC,

       Holdings, and Lendgreen, in response to a question from Justice Alito about “the

       relationship between the tribe and Lendgreen loans,” stated that Lendgreen was “a

       true tribal business” with its “headquarters on the reservation,” with “50 to 60

       employees,” and with “money [that] comes from the tribe, tribal accounts.” An

       except from the transcript is attached as Exhibit “M.”


 36.   The facts set forth above show disregard for and abuse of the corporate form as

       between Tribe, BDC, Holdings, and Lendgreen in the following ways:


       (a)      As set forth above, the Articles of Incorporation and the Operating

       Agreement contain conflicting statements as to the identity of the “exclusive

       owner[ ]” and the “Member” of Lendgreen, attributing ownership and exclusive

       ownership status to the Tribe, BDC, and Holdings interchangeably.


       (b)      Upon information and belief, Lendgreen was at its inception grossly

       undercapitalized, and remains grossly undercapitalized today. The $100 specified

       in Section 2.1 of the Operating Agreement is insufficient capital for a business of

       any size. The $500 that is specified by Section 6.2 of the Operating Agreement as

       the maximum to be left in Lendgreen’s cash accounts at any time would also be

       insufficient to run a business of any size, and especially one with 50 to 60

       employees and a physical headquarters.


       (c)      Upon information and belief, the funding for Lendgreen’s operations

       comes from one or more of the Tribe, BDC, and Holdings and the Tribe, BDC,

       Holdings, and Lendgreen commingle their assets to fund Lendgreen’s operations
Case 19-14142     Doc 230     Filed 11/09/23 Entered 11/09/23 15:00:16              Desc Main
                              Document      Page 14 of 65



       while minimizing the assets that remain in Lendgreen’s control, as suggested by

       counsel’s statement quoted above that the money for Lendgreen’s operations

       comes “from the tribe” and from “tribal accounts.”


       (d)      Upon information and belief, the purpose and effect of this corporate

       structure is to permit Lendgreen to engage in Internet payday lending operations

       that violate, or may violate, applicable federal and state laws; to use tribal funds to

       finance some or all of Lendgreen’s business activities; to frustrate federal and

       state scrutiny of Lendgreen’s activies by taking the the position that Lendgreen is,

       in the words of Resolution 550(12), “cloaked with sovereign immunity as an arm

       of the Tribe”; but, in case that immunity should prove insufficient, as it has in this

       case, to avoid giving Lendgreen ownership of the funds or assets actually needed

       to run a lending business.


 37.   Based on the foregoing allegations, this Court should disregard the putative

       separate legal between the Tribe, BDC, Holdings, and Lendgreen, and treat them

       as a single unified entity, or as alter egos of one another, or as agents of one

       another, such that:


       (a)      notice of the Debtor’s bankruptcy provided to Lendgreen was notice to the

       Tribe, BDC, and Holdings;


       (b)      the collection actions taken by Lendgreen in violation of the automatic

       stay were actions of the Tribe, BDC, and Holdings; and
Case 19-14142         Doc 230      Filed 11/09/23 Entered 11/09/23 15:00:16            Desc Main
                                   Document      Page 15 of 65



           (c)     the Tribe, BDC, Holdings, and Lendgreen are jointly and severally liable

           for the willful violation of 11 U.S.C. § 362(a)(6) set out above


 38.       The above allegations are made on the basis of information that is known to the

           Debtor, that the Debtor has obtained through the efforts of his own counsel, or

           htat has otherwise become public. The Debtor reserves the right to supplement or

           amend his allegations based upon discovery in this action, including without

           limitation the possibility that actions in violation of the automatic stay were

           committed by non-tribal entities such as the unidentified “Manager” of Lendgreen

           or other vendors, services, or contractors.


 WHEREFORE, the Debtors request, pursuant to 11 U.S.C. §§ 362(a)(6) and 362(k)(1),

 that the Court issue an Order:


 1. Finding that Lendgreen willfully violated the provisions of 11 U.S.C. § 362(a)(6).


 2. Finding that the Tribe, BDC, and Holdings, are jointly and severally liable for

       Lendgreen’s willful violation of 11 U.S.C. §362(a)(6), based on theories of alter-ego

       liability, vicarious liability, or otherwise.


 3. Awarding the Debtor his actual damages, including damages for the emotional

       distress caused by those willful violations of 11 U.S.C. § 362(a)(6).


 4. Awarding the Debtor his attorneys’ fees and costs in an amount to be determined by

       the court for the prosecution of this proceeding.
Case 19-14142     Doc 230    Filed 11/09/23 Entered 11/09/23 15:00:16            Desc Main
                             Document      Page 16 of 65



 5. Awarding the Debtor punitive damages against the Tribe, BDC, Holdings, and

    Lendgreen.


 6. Awarding such other and further relief as the Court deems just and proper.


                                             BRIAN W. COUGHLIN, Debtor
                                             By his attorney,


 Date: 9/25/2023                             /s/ Richard N. Gottlieb, Esq.
                                             Richard N. Gottlieb, Esq. BBO # 547970
                                             Law Offices of Richard N. Gottlieb
                                             Ten Tremont Street
                                             Suite 11, 3rd Floor
                                             Boston, MA 02108
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                                             rnglaw@verizon.net
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 17 of 65
              Case
               Case19-14142
                    19-14142 Doc
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                                     Document      Page 18 of 65
                                                   Page 24 of 51                           12/04/19 10:39AM

 Debtor 1 Brian W. Coughlin                                                                              Case number (if known)

 4.1
 6        Inbox Credit                                               Last 4 digits of account number       HCAI                                             $2,559.94
          Nonpriority Creditor's Name
          P.O. Box 881                                               When was the debt incurred?           2019
          Santa Rosa, CA 95402
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Payday Loan


 4.1
 7        Lend Green                                                 Last 4 digits of account number       3572                                             $1,594.91
          Nonpriority Creditor's Name
          P.O. Box 221                                               When was the debt incurred?           2019
          Lac Du Flambeau, WI 54538
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Pay Day Loan


 4.1
 8        LVNV Funding/Resurgent Capital                             Last 4 digits of account number       5624                                             $2,270.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 06/19
          Po Box 10497
          Greenville, SC 29603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Factoring Company Account Collection




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Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 19 of 65
Case
 Case19-14142
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                       Document
                       Document      Page 20 of 65
                                     Page 51 of 51


                   Greenarrow Loans
                   P.O. Box 170
                   Finley, CA 95435

                   Inbox Credit
                   P.O. Box 881
                   Santa Rosa, CA 95402

                   Internal Revenue Service
                   P.O. Box 7346
                   Philadelphia, PA 19101-7346

                   Lend Green
                   P.O. Box 221
                   Lac Du Flambeau, WI 54538

                   LVNV Funding/Resurgent Capital
                   Attn: Bankruptcy
                   Po Box 10497
                   Greenville, SC 29603

                   Midland Credit Management, Inc.
                   P.O. Box 51319
                   Los Angeles, CA 90051-5619

                   Navient
                   Attn: Bankruptcy
                   Po Box 9640
                   Wilkes-Barre, PA 18773

                   TrueAccord Collections
                   303 2nd Street
                   Suite 750 South
                   San Francisco, CA 94107

                   Vlizhwaaswi, LLC d/b/a Loan at Last
                   P.O. Box 1193
                   Lac Du Flambeau, WI 54538
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 21 of 65
 Case 19-14142       Doc 230     Filed 11/09/23 Entered 11/09/23 15:00:16             Desc Main
                                 Document      Page 22 of 65


                         UNITED STATES BANKRUPTCY COURT
                                      FOR THE
                            DISTRICT OF MASSACHUSETTS


 In re                                                IN PROCEEDINGS UNDER
 BRIAN W. COUGHLIN,                                   CHAPTER 13
                  Debtor                              CASE NO.: 19-14142


                                CERTIFICATE OF SERVICE

       I, Richard N. Gottlieb, Esq., do hereby certify that I have this day served a copy of the

Debtor’s Original Chapter 13 Plan dated December 4, 2019, by First-class mail postage paid

and/or electronically via the CM/ECF Electronic Messaging System on the persons listed below.


Date: December 4, 2019                       /s/ Richard N. Gottlieb, Esq.
                                             Richard N. Gottlieb, Esq. BBO # 547970
                                             Law Offices of Richard N. Gottlieb
                                             Ten Tremont Street
                                             Suite 11, 3rd Floor
                                             Boston, Massachusetts 02108
                                             (617) 742-4491
                                             rnglaw@verizon.net
PERSONS SERVED:


Carolyn Bankowski, Esq.                              Bank of America
Chapter 13 Trustee                                   4909 Savarese Circle
(Served via CM/ECF)                                  Fl1-908-01-50
                                                     Tampa, FL 33634
500 Fast Cash
515 "G" Street SE                                    Big Picture Loans
Miami, OK 74354                                      P.O. Box 704
                                                     Watersmeet, MI 49969
American Web Loans
3910 W. 6th Avenue                                   Capital One
Box 27                                               Attn: Bankruptcy
Stillwater, OK 74074                                 Po Box 30285
                                                     Salt Lake City, UT 84130
AmeriCredit/GM Financial
Attn: Bankruptcy                                     City Of Boston Cu
Po Box 183853                                        1 Union St Fl 3
Arlington, TX 76096                                  Boston, MA 02108
 Case 19-14142     Doc 230    Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                              Document      Page 23 of 65



Clarity Finance                              Midland Credit Management, Inc.
P.O. Box 8                                   P.O. Box 51319
Princeton, ME 04668                          Los Angeles, CA 90051-5619

Credit One Bank
P.O. Box 98873
Las Vegas, NV 89193-8873

CreditControl
5757 Phantom Drive
Suite 330
Hazelwood, MO 63042

First Premier Bank
Attn: Bankruptcy
Po Box 5524
Sioux Falls, SD 57117

Golden Valley Lending
635 East Highway 20 E
Upper Lake, CA 95485

Greenarrow Loans
P.O. Box 170
Finley, CA 95435

Inbox Credit
P.O. Box 881
Santa Rosa, CA 95402

Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

Lend Green
P.O. Box 221
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LVNV Funding/Resurgent Capital
Attn: Bankruptcy
Po Box 10497
Greenville, SC 29603
 Case 19-14142    Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                            Document      Page 24 of 65



Navient
Attn: Bankruptcy
Po Box 9640
Wilkes-Barre, PA 18773

TrueAccord Collections
303 2nd Street
Suite 750 South
San Francisco, CA 94107

Vlizhwaaswi, LLC d/b/a Loan at Last
P.O. Box 1193
Lac Du Flambeau, WI 54538
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 25 of 65
 Case 19-14142       Doc 230                       Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                                                   Document      Page 26 of 65



Begin forwarded message:

On Wednesday, February 26, 2020, 11:58 AM, Linda Ehikpehale <collections@lendgreen.com>
wrote:
                            The picture can't be displayed.




Hello Brian,

As earlier discussed , the email address to send the Power Of Attorney documents for your
bankruptcy case is administration@lendgreen.com

Keep in mind that you can always call us at 1-855-832-7227 , 8 AM - 7 PM (EST).




Thank you,

Linda
Collections Specialist
Lendgreen Collections Department
  Case 19-14142                    Doc 230      Filed 11/09/23 Entered 11/09/23 15:00:16                                  Desc Main
                                                Document      Page 27 of 65


1-855-832-7227
 The picture can't be displayed.




 Niiwin, LLC, d/b/a Lendgreen (“Lendgreen”), is a wholly owned subsidiary of LDF Holdings, LLC, a wholly owned subsidiary of the Lac du
Flambeau Business Development Corporation, a wholly owned and operated economic arm and instrumentality of the Lac du Flambeau
Band of Lake Superior Chippewa Indians (“Tribe”), a federally recognized Indian tribe. Lendgreen is organized and in good standing under
the laws of the Tribe. Lendgreen is a duly licensed Financial Services Licensee of the Lac du Flambeau Tribal Lending Regulatory Authority,
an independent regulatory body of the Tribe.

This is an expensive form of borrowing. Lendgreen loans are designed to assist you in meeting your short term borrowing needs and are not
intended to be a long term financial solution. The Annual Percentage Rate (“APR”) as applied to your loan will range depending on your
payment schedule, pay frequency, loan term, and the amount of your loan. Late payments and incidents of non-payment may result in
additional fees and collection activities as described in your loan agreement and as allowed by Tribal and applicable federal law. Lendgreen
does not lend to residents of AR, CT, GA, MD, MN, NY, PA, VA, WV, WI, and to members of the military and their dependents Availability of
installment loans is subject to change at any time at the sole discretion of Lendgreen.

All offers are subject to credit approval. Lendgreen offers loans to consumers with varying degrees of creditworthiness. Prior to offering
credit, Lendgreen may conduct a credit check through specialized credit bureaus. Lendgreen does not run credit checks with TransUnion,
Experian, or Equifax.

Applications must be processed by speaking with a live Customer Care Specialist before 11:30 AM ET Monday-Friday to receive funds on
the same business day. Funds for applications processed after 11:30 AM ET Monday-Friday will be delivered the next business day.

You are receiving this email as a Lendgreen customer or because you have expressed interest in a loan via an affiliate. If you wish to no
longer receive our communications, please unsubscribe below.

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Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 28 of 65
  Case 19-14142          Doc 230                         Filed 11/09/23 Entered 11/09/23 15:00:16                                                                                        Desc Main
                                                         Document      Page 29 of 65



On Tuesday, March 17, 2020, 9:08 AM, customercare@lendgreen.com wrote:


                                The linked image cannot be displayed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




 150 DAYS OVERDUE AND IT IS BEING REPORTED TO CREDIT REPORTING AGENCIES

                      CALL 1-877-689-1848 NOW TO MAKE A PAYMENT.


RE: Lendgreen account #028083572-00

Balance Due: $1,594.91

Hi Brian,

Your loan is 150 past due. We have reported this issue to credit reporting agencies and your ability to receive
a loan in the future may be impacted. Call us now to set up a payment schedule.


            CALL NOW TO CLEAR
                YOUR DEBT


Alternatively, you can authorize a direct payment by sending the following email to
collections@lendgreen.com:

"I, Brian, authorize Lendgreen to debit the sum of $________ from my account on .

To verify my identity, the last 4 digits of my SSN are ______; the last 4 digits of my routing number are ______;
and the last 4 digits of my account number are ______."

If you have any questions regarding this email, please do not hesitate to contact us. Log into your self-service
   Case 19-14142               Doc 230           Filed 11/09/23 Entered 11/09/23 15:00:16                                  Desc Main
                                                 Document      Page 30 of 65



account to review your loan details.


Regards,

Lendgreen Collections Department
collections@lendgreen.com
1-877-689-1848
 www.lendgreen.com

Niiwin, LLC, d/b/a Lendgreen (“Lendgreen”), is a wholly owned subsidiary of LDF Holdings, LLC, a wholly owned subsidiary of the Lac du
Flambeau Business Development Corporation, a wholly owned and operated economic arm and instrumentality of the Lac du Flambeau
Band of Lake Superior Chippewa Indians (“Tribe”), a federally recognized Indian tribe. Lendgreen is organized and in good standing under
the laws of the Tribe. Lendgreen is a duly licensed Financial Services Licensee of the Lac du Flambeau Tribal Financial Services Regulatory
Authority, an independent regulatory body of the Tribe

All loan application decisions are made at Lendgreen’s office located at 597 Peace Pipe Road, 2nd Floor, Lac du Flambeau, Wisconsin
54538 on the Tribe’s reservation. If your loan application is approved by Lendgreen, your loan will be governed by Tribal law, applicable
federal law, and the terms and conditions of your loan agreement.

This is an expensive form of borrowing. Lendgreen loans are designed to assist you in meeting your short term borrowing needs and are
not intended to be a long term financial solution. The Annual Percentage Rate (“APR”) as applied to your loan will range depending on
your payment schedule, pay frequency, loan term, and the amount of your loan. Late payments and incidents of non-payment may result
in additional fees and collection activities as described in your loan agreement and as allowed by Tribal and applicable federal law.
Lendgreen does not lend to residents of AR, CT, GA, MD, MN, NY, PA, VA, WV, and WI or to members of the military and their
dependents. Availability of installment loans is subject to change at any time at the sole discretion of Lendgreen.

Please do not reply to this email as we are unable to respond to messages sent to this address. For any inquires please
contact customercare@lendgreen.com
                                                    Mailing Address:
                                              NIIWIN, LLC d/b/a Lendgreen
                                                        PO Box 221
                                               Lac du Flambeau, WI, 54538
                                                     1-855-832-7227




  Niiwin, LLC, d/b/a Lendgreen (“Lendgreen”), is a wholly owned subsidiary of LDF Holdings, LLC, a wholly owned subsidiary of the Lac du
 Flambeau Business Development Corporation, a wholly owned and operated economic arm and instrumentality of the Lac du Flambeau
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  Case 19-14142               Doc 230           Filed 11/09/23 Entered 11/09/23 15:00:16                                  Desc Main
                                                Document      Page 31 of 65


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Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 32 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 33 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 34 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 35 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 36 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 37 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 38 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 39 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 40 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 41 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 42 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 43 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 44 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 45 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 46 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 47 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 48 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 49 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 50 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 51 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 52 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 53 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 54 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 55 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 56 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 57 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 58 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 59 of 65
Case 19-14142   Doc 230   Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                          Document      Page 60 of 65
Case 19-14142    Doc 230    Filed 11/09/23 Entered 11/09/23 15:00:16   Desc Main
                            Document      Page 61 of 65



                SUPREME COURT
             OF THE UNITED STATES

             IN THE SUPREME COURT OF THE UNITED STATES
    - - - - - - - - - - - - - - - - - -

    LAC DU FLAMBEAU BAND OF                          )

    LAKE SUPERIOR CHIPPEWA INDIANS,                  )

    ET AL.,                                          )

                     Petitioners,                    )

                   v.                                ) No. 22-227

    BRIAN W. COUGHLIN,                               )

                     Respondent.                     )
    - - - - - - - - - - - - - - - - - -




    Pages:      1 through 70

    Place:      Washington, D.C.

    Date:       April 24, 2023



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                                                      Review          Desc Main
                         Document      Page 62 of 65


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      1         IN THE SUPREME COURT OF THE UNITED STATES

      2    - - - - - - - - - - - - - - - - - -

      3    LAC DU FLAMBEAU BAND OF                     )

      4    LAKE SUPERIOR CHIPPEWA INDIANS,             )

      5    ET AL.,                                     )

      6                      Petitioners,              )

      7                    v.                          ) No. 22-227

      8    BRIAN W. COUGHLIN,                          )

      9                      Respondent.               )

     10    - - - - - - - - - - - - - - - - - -

     11

     12                         Washington, D.C.

     13                    Monday, April 24, 2023

     14

     15              The above-entitled matter came on for

     16    oral argument before the Supreme Court of the

     17    United States at 11:03 a.m.

     18

     19

     20

     21

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                     Heritage Reporting Corporation
Case 19-14142   DocOfficial
                    230 Filed- 11/09/23
                                Subject Entered
                                          to Final11/09/23 15:00:16
                                                      Review          Desc Main
                         Document      Page 63 of 65

                                                                      19


      1    in the text -- but perhaps they thought:             Okay,

      2    well, it doesn't -- it's not as fair to abrogate

      3    the sovereign immunity of Indian tribes, who

      4    weren't part of that deal or bargain struck in

      5    the Constitutional Convention.

      6                 JUSTICE ALITO:       Mr. Shah --

      7                 JUSTICE SOTOMAYOR:       Counsel --

      8                 JUSTICE ALITO:       -- just out of

      9    curiosity, could I ask you a few questions about

     10    the relationship between the tribe and Lendgreen

     11    loans?

     12                 MR. SHAH:     Yes.

     13                 JUSTICE ALITO:       Who actually operates

     14    this?

     15                 MR. SHAH:     The tribe does, Your Honor.

     16    This is not a rent-a-tribe situation.             The other

     17    side has never alleged it.          Actually, this is a

     18    true tribal business.         The headquarters is on

     19    the reservation.       They have 50 to 60 -- this is

     20    all outside the record, but I'm just answering

     21    your question -- 50 to 60 employees.            The money

     22    comes from the tribe, tribal accounts.             This is

     23    a fully tribal operation.

     24                 Of course, they use third-party

     25    vendors, servicers and all, like any other




                     Heritage Reporting Corporation
Case 19-14142   DocOfficial
                    230 Filed- 11/09/23
                                Subject Entered
                                          to Final11/09/23 15:00:16
                                                      Review          Desc Main
                         Document      Page 64 of 65

                                                                      20


      1    business that may not be tribal lenders, but

      2    this is not one of those situations that the

      3    amicus brief talks about in other cases about

      4    renting tribes' immunity.          This is a tribal

      5    business.

      6                 JUSTICE ALITO:      Well, what -- what

      7    percentage of the people who are actually

      8    running this business are tribal members?

      9                 MR. SHAH:     Again, this is outside the

     10    record.     My knowledge -- and I -- I -- if you

     11    take out the outside vendors, 100 percent is my

     12    knowledge.      It's got 50 to 60 employees who

     13    operate out of a headquarters located.

     14                 Now I can't tell you whether all of

     15    those 50, 60 employees who work in the

     16    headquarters on the tribal reservation are

     17    tribal members, but that's the -- that --

     18    that -- that -- that's the extent of my
     19    knowledge on that.

     20                 JUSTICE ALITO:      Do you dispute the --

     21    the facts that are set out in Respondent's brief

     22    about what was done to --

     23                 MR. SHAH:     Your Honor -- Your Honor,

     24    the --

     25                 JUSTICE ALITO:      -- his client that




                     Heritage Reporting Corporation
 Case 19-14142          Doc 230     Filed 11/09/23 Entered 11/09/23 15:00:16             Desc Main
                                    Document      Page 65 of 65



                            UNITED STATES BANKRUPTCY COURT
                                         FOR THE
                               DISTRICT OF MASSACHUSETTS


    In re                                                    IN PROCEEDINGS UNDER
    BRIAN W. COUGHLIN,                                       CHAPTER 13
                   Debtor                                    CASE NO. 19-14142-FJB


                                   CERTIFICATE OF SERVICE

        I, Richard N. Gottlieb, Esq., hereby certify that I have this day served a copy of the
   the First Amended Motion of the Debtor to Enforce the Automatic Stay

   attached hereto upon on persons listed below, via electronic mail on the CM/ECF system.


  Date: 11/9/2023                                  /s/ Richard N. Gottlieb, Esq.
                                                   Richard N. Gottlieb, Esq. BBO # 547970
                                                   Law Offices of Richard N. Gottlieb
                                                   Ten Tremont Street
                                                   Suite 11, 3rd Floor
                                                   Boston, MA 02108
                                                   (617) 742-4491
                                                   rnglaw@verizon.net




Persons served
:
Carolyn Bankowski, Esq.                                 Counsels of Record to Niiwin, LLC d/b/a
Chapter 13 Trustee                                      “Lendgreen”;
(Served via CM/ECF)                                     LDF Holdings, LLC;
                                                        Lac du Flambeau Business Development
Adrienne Walker, Esq.                                   Corporation; and
Locke Lord, LLP                                         Lac du Flambeau Band of Lake Superior
                                                        Chippewa Indians
-and-                                                   (Served via CMECF)

Zachary Fairlie, Esq.
Spencer Fane, LLP.
